Case 6:22-cv-01130-DCJ-CBW Document 63 Filed 06/17/22 Page 1 of 5 PageID #: 2134




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


                                                 )
  STATE OF ARIZONA, et al.,                      )
                                                 )
         Plaintiffs,                             )
                                                 )
         v.                                      )       Civil Action No. 6:22-cv-01130
                                                 )
   MERRICK GARLAND,                              )
   in his official capacity as Attorney          )
   General of the United States, et al.,         )
                                                 )
         Defendants.                             )
                                                 )


                DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendants write to advise the Court of a new Supreme Court decision that bears on this

  case, and the supplemental briefing the Court ordered on May 18, 2022. ECF No. 24. On June 13,

  2022, the Supreme Court decided Garland v. Aleman Gonzalez, No. 20-322, 2022 WL 2111346

  (U.S. June 13, 2022). Aleman Gonzalez holds that 8 U.S.C. § 1252(f)(1), which restricts the

  “authority to enjoin or restrain the operation of” 8 U.S.C. §§ 1221-1232, “generally prohibits lower

  courts from entering injunctions that order federal officials to take or to refrain from taking actions

  to enforce, implement, or otherwise carry out the specified statutory provisions.” Aleman

  Gonzalez, 2022 WL 2111346 at *4. In so doing, the Court squarely held that § 1252(f)(1) applies

  where, as here, plaintiffs allege that “the Government [i]s misinterpreting and misapplying a

  covered statutory provision.” Id. at *7. Aleman Gonzalez thus forecloses jurisdiction to issue a

  preliminary injunction in this case.


                                                     1
Case 6:22-cv-01130-DCJ-CBW Document 63 Filed 06/17/22 Page 2 of 5 PageID #: 2135




          In Aleman Gonzalez, the Supreme Court overturned injunctions entered by two district

  courts that had, as a matter of statutory interpretation, required the government to provide bond

  hearings for noncitizens detained under 8 U.S.C. § 1231(a)(6). Aleman Gonzalez, 2022 WL

  2111346 at *4. The Court held that “[t]hose orders ‘enjoin or restrain the operation’ of § 1231(a)(6)

  because they require officials to take actions that (in the Government’s view) are not required by

  §1231(a)(6) and to refrain from actions that (again in the Government’s view) are allowed by

  §1231(a)(6).” Id. at *5. Because “[t]hose injunctions thus interfere with the Government’s efforts

  to operate §1231(a)(6)” in its chosen manner, they were barred by § 1252(f)(1). Id.

          In reaching this conclusion, the Supreme Court addressed the argument that § 1252(f)(1)’s

  bar on enjoining or restraining the operation of the covered statutory provisions should be read

  such “that ‘the operation’ of the covered immigration provisions means the operation of those

  provisions ‘as properly interpreted,’” and thus limits only those “injunctions that prohibit the

  Government from doing what the statute allows or commands.” Aleman Gonzalez, 2022 WL

  2111346 at *6. Plaintiffs make the same argument in this case. See ECF No. 46 at 8-9. The

  Supreme Court rejected this narrow reading of § 1252(f)(1), stating:

          We do not think that this is the most natural interpretation of the term “operation,” since
          it is very common to refer to the “unlawful” or “improper” operation of whatever it is
          that is being operated. … If cars, trucks, railroads, water utilities, drainage ditches, auto
          dealerships, planes, radios, video poker machines, cable TV systems, and many other
          things can be unlawfully or improperly operated, it is not apparent why the same cannot
          be said of a statute. Thus, the ordinary meaning of the language of §1252(f)(1) weighs
          against respondents’ interpretation.

  Aleman Gonzalez, 2022 WL 2111346 at *6 (citations omitted).1 Aleman Gonzalez bars Plaintiffs

  from seeking a preliminary injunction in this case, and thus forecloses any preliminary relief


  1
    Aleman Gonzalez thus overturns the Fifth Circuit’s contrary reading of § 1252(f)(1) in Texas v. Biden,
  20 F.4th 928, 1003-04 (5th Cir. 2021). The Supreme Court will likely issue a decision in Texas v. Biden
  in the coming weeks, and that decision may provide further guidance on § 1252(f)(1).

                                                      2
Case 6:22-cv-01130-DCJ-CBW Document 63 Filed 06/17/22 Page 3 of 5 PageID #: 2136




  because “prior to final judgment, there is no established declaratory remedy comparable to a

  preliminary injunction.” Doran v. Salem Inn, Inc., 422 U.S. 922, 931 (1975); see also Defendants’

  Supplemental Memorandum, ECF No. 44 at 16.

         Here, in addition to seeking to “permanently enjoin” the Interim Final Rule, Plaintiffs also

  ask the Court for an order “vacating the Asylum IFR.” ECF No. 14, Amend. Compl. Prayer for

  Relief. Aleman Gonzalez involved an injunction, but the Supreme Court’s reasoning on

  § 1252(f)(1) applies equally to vacatur of a rule. Because vacatur prohibits an agency from giving

  effect to the vacated rule, a court “enjoin[s] or restrain[s] the operation of” the covered statutory

  provisions when it vacates a rule implementing those provisions. 8 U.S.C. § 1252(f)(1); Aleman

  Gonzalez, 2022 WL 2111346 at *4. And any argument that § 1252(f)(1) is limited to injunctions

  alone is inconsistent with Congress’s use of the broad phrase “enjoin or restrain.” See id. The

  Immigration and Nationality Act (INA) and the Administrative Procedure Act (APA) both make

  clear that the APA’s remedial authorities give way to the specific remedial limitations in

  § 1252(f)(1). The INA makes those limitations applicable “[r]egardless of the nature of the action

  or claim or of the identity of the [plaintiff],” and it expressly withdraws “jurisdiction” to enter the

  prohibited remedies. 8 U.S.C. § 1252(f)(1). The APA is not “an independent grant of subject-

  matter jurisdiction.” Califano v. Sanders, 430 U.S. 99, 105 (1977). And the APA itself reinforces

  remedial limitations like those in § 1252(f)(1) by expressly providing that “[n]othing” in the APA

  right of review “affects other limitations on judicial review” or the “duty of the court to . . . deny

  relief on any other appropriate legal or equitable ground.” 5 U.S.C. § 702(1). Section 1252(f)(1)

  thus bars district courts from vacating rules that implement the statutory provisions covered by

  § 1252(f)(1). See Defendants’ Supplemental Memorandum, ECF No. 44 at 16-20.




                                                    3
Case 6:22-cv-01130-DCJ-CBW Document 63 Filed 06/17/22 Page 4 of 5 PageID #: 2137




        Date: June 17, 2022          Respectfully submitted,

                                     BRIAN M. BOYNTON
                                     Principal Deputy Assistant Attorney General

                                     WILLIAM C. PEACHEY
                                     Director
                                     Office of Immigration Litigation
                                     District Court Section

                                     EREZ REUVENI
                                     Assistant Director

                                     /s/ Brian C. Ward
                                     BRIAN C. WARD
                                     Senior Litigation Counsel
                                     U.S. Department of Justice
                                     Civil Division
                                     Office of Immigration Litigation
                                     District Court Section
                                     P.O. Box 868, Ben Franklin Station
                                     Washington, DC 20044
                                     Tel.: (202) 616-9121
                                     brian.c.ward@usdoj.gov

                                     JOSEPH DARROW
                                     ELISSA FUDIM
                                     ERIN RYAN
                                     Trial Attorneys

                                     SARAH STEVENS WILSON
                                     Assistant Director
                                     Office of Immigration Litigation
                                     Appellate Section




                                        4
Case 6:22-cv-01130-DCJ-CBW Document 63 Filed 06/17/22 Page 5 of 5 PageID #: 2138




                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 17, 2022, I electronically filed the foregoing document with

  the Clerk of the Court for the United States District Court for the Western District of Louisiana by

  using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

  accomplished by the CM/ECF system.

                                        /s/ Brian C. Ward
                                        BRIAN C. WARD
                                        U.S. Department of Justice




                                                   5
